Case 8:21-cv-00338-CJC-ADS Document 1 Filed 02/19/21 Page 1 of 37 Page ID #:1



  1   DAVIDA BROOK (275370)
      dbrook@susmangodfrey.com
  2   KRYSTA KAUBLE PACHMAN (280951)
      kpachman@susmangodfrey.com
  3   SUSMAN GODFREY L.L.P.
      1900 Avenue of the Stars, Suite 1400
  4   Los Angeles, CA 90067
      Phone: (310) 789-3100; Fax: (310) 789-3150
  5
      ARUN SUBRAMANIAN
  6   (Pro Hac Vice forthcoming)
      asubramanian@susmangodfrey.com
  7   SUSMAN GODFREY L.L.P.
      1301 Avenue of the Americas, 32nd Fl.
  8   New York, NY 10019-6023
      Phone: (212) 336-8330; Fax: (212) 336-8340
  9
      (See additional counsel on signature page)
 10
      Attorneys for Plaintiff
 11

 12

 13                        UNITED STATES DISTRICT COURT
 14                      CENTRAL DISTRICT OF CALIFORNIA
 15                               SOUTHERN DIVISION
 16
       JANE DOE on behalf of herself and all       Case No. 8:21-cv-00338
 17    others similarly situated,
                                                   CLASS ACTION
 18
                                Plaintiff,
 19    v.                                          COMPLAINT FOR VIOLATION
                                                   OF FEDERAL SEX
 20
       MINDGEEK USA INCORPORATED,                  TRAFFICKING LAWS
 21    MINDGEEK S.A.R.L., MG FREESITES,
       LTD (D/B/A PORNHUB), MG          JURY TRIAL DEMANDED
 22    FREESITES II, LTD, MG CONTENT RT
       LIMITED, AND 9219-1568 QUEBEC,
 23    INC. (D/B/A MINDGEEK),
 24                             Defendants.
 25

 26

 27

 28
Case 8:21-cv-00338-CJC-ADS Document 1 Filed 02/19/21 Page 2 of 37 Page ID #:2



  1                             NATURE OF THE ACTION
  2         1.    Plaintiff brings this proposed class action for damages and injunctive
  3   relief on behalf of herself and all persons who were under the age of 18 when they
  4   appeared in a video or image that has been uploaded or otherwise made available for
  5   viewing on any website owned or operated by Defendants in the last ten years.
  6         2.    As alleged below, over the course of the last decade, Defendants have
  7   knowingly benefited financially from thousands—if not millions—of videos posted
  8   to their various websites featuring victims who had not yet reached the age of
  9   majority.   Rather than address this horrifying and pervasive trend, for years,
 10   Defendants took almost no action, refusing to so much as institute any semblance of
 11   an age-verification policy that would prevent the uploading of this deeply
 12   problematic content.
 13         3.    The reason for Defendants’ inaction is simple: greed. As Pornhub’s
 14   own Senior Community Manger publicly acknowledged via a Reddit post, age
 15   verification would be a “disaster” for Pornhub because it “costs us money to
 16   verify” and would result in a 50% reduction in traffic.
 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28
                                               2
Case 8:21-cv-00338-CJC-ADS Document 1 Filed 02/19/21 Page 3 of 37 Page ID #:3



  1         4.     In short, Defendants chose to prioritize their profits over the safety and
  2   welfare of children across the globe.
  3         5.     Defendants’ decision is not only upsetting, it is illegal.          As the
  4   Trafficking Victims Protection Reauthorization Act (TVPRA) makes clear, it is
  5   unlawful for any person or entity to knowingly (whether because it knew or should
  6   have known) benefit financially from sex trafficking, which includes any instance
  7   where a person under the age of 18 is caused to engage in a commercial sex act. That
  8   is precisely what Defendants have done here—on an incredible scale.
  9                                      THE PARTIES
 10         6.     Plaintiff Jane Doe No. 1 is an individual who is now the age of majority
 11   under U.S. and California law. She is a United States citizen who resided within this
 12   judicial district at all relevant times alleged herein. She is also a victim of child sex
 13   trafficking and child pornography, as alleged herein.
 14         7.     Plaintiff Jane Doe No. 1 requests that this Court permit her to proceed
 15   under a pseudonym. If required by the Court, she will seek permission to proceed
 16   under this pseudonym. Plaintiff’s anonymity is necessary to preserve privacy in a
 17   matter of sensitive and highly personal nature given that the allegations detailed
 18   herein relate to Plaintiff’s experience as a victim of child sex trafficking and child
 19   pornography. Plaintiff’s sensitive and personal experiences were not the result of
 20   any voluntary undertaking on her part, and neither the public, nor the Defendants,
 21   will be prejudiced by Plaintiff’s identity remaining private.
 22         8.     Defendant MindGeek USA Incorporated is a corporation organized and
 23   existing under the laws of the state of Delaware, with an established place of business
 24   located at 23000 West Empire Avenue, 7th Floor, Burbank, California 91504. Upon
 25   information and belief, defendant can be served with process by serving its registered
 26   agent for service of process in the State of California, CT Corporation System, 818
 27   W. 7th Street, Suite 930, Los Angeles, CA. 90017. Upon information and belief,
 28   MindGeek USA Incorporated is a wholly owned subsidiary of MindGeek S.A.R.L.,
                                                  3
Case 8:21-cv-00338-CJC-ADS Document 1 Filed 02/19/21 Page 4 of 37 Page ID #:4



  1   either directly or through intermediary companies also under the control MindGeek
  2   S.A.R.L.
  3          9.        Defendant MindGeek S.A.R.L. is a foreign entity (a Société à
  4   responsabilité limitée) organized and existing under the laws of Luxembourg and
  5   conducting business in the United States, including in this District. Although
  6   incorporated in Luxembourg, Mindgeek S.A.R.L.’s principal place of business is
  7   Montreal, Canada, and has satellite offices in, among other places, Los Angeles,
  8   California.
  9          10.       Defendant MG Freesites, Ltd. (d/b/a Pornhub) is a company
 10   incorporated in the Republic of Cyprus and conducting business in the United States,
 11   including in this District. Upon information and belief, MG Freesites, Ltd. is a
 12   wholly owned subsidiary of MindGeek S.A.R.L., either directly or through
 13   intermediary companies that are also under the control of Mindgeek S.A.R.L. Upon
 14   information and belief, MG Freesites, Ltd. is predominantly under the control of and
 15   operated by directors, officers, and employees working in MindGeek’s offices in the
 16   United States and Canada, with little business operations being conducted within the
 17   Republic of Cyprus.
 18          11.       Defendants MG Freesites II, Ltd. is a company incorporated under the
 19   laws of the Republic of Cyprus conducting business throughout the United States,
 20   including within this District.
 21          12.       Defendant MG Content RT Limited is a company organized under the
 22   laws of Ireland conducting business throughout the United States, including within
 23   this District.
 24          13.       Defendant 9219-1568 Quebec, Inc. (d/b/a MindGeek) is a company
 25   organized and existing under the laws of Canada with a principal place of business
 26   located in Montreal, though it conducts business throughout the United States,
 27   including within this District.
 28
                                                   4
Case 8:21-cv-00338-CJC-ADS Document 1 Filed 02/19/21 Page 5 of 37 Page ID #:5



  1          14.    Herein, “Defendants” or “MindGeek” refers to MindGeek S.A.R.L.,
  2   MG Freesites, Ltd., MG Freesites II, Ltd., MG Content RT Limited, 9219-1568
  3   Quebec, Inc., MindGeek USA Incorporated, and all of their parents, subsidiaries and
  4   affiliates.
  5          15.    Defendants have incorporated dozens of subsidiaries and related
  6   companies around the world, the details of which are unknown to the Class at this
  7   time. However, all the MindGeek entities operate as a single business enterprise,
  8   commingling their funds and other assets to shelter and avoid liabilities and to hide
  9   the identity of their owners, and are jointly and severally liable in this action as alter
 10   egos of one another.
 11          16.    Plaintiff is unaware of any MindGeek-related entity that does not act at
 12   the direction of the MindGeek enterprise operated by Defendants.
 13                              JURISDICTION AND VENUE
 14          17.    This Court has original subject matter jurisdiction pursuant to 28 U.S.C.
 15   § 1331.
 16          18.    The claims asserted herein arise under 18 U.S.C. § 1595(a). Pursuant to
 17   Section 1595(a), “an individual who is a victim of a violation of this chapter” may
 18   bring a civil action in “an appropriate district court of the United States and may
 19   recover damages and reasonable attorneys fees.”
 20          19.    The court may properly exercise personal jurisdiction over all
 21   Defendants. Each of the Defendants maintains minimum contacts with this District,
 22   such that maintenance of this lawsuit does not offend traditional notions of fair play
 23   and substantial justice.
 24          20.    Defendants have offices in this State and this District, conducting
 25   business directly related to the websites at issue in this case. Specifically, MindGeek
 26   USA Incorporated is a corporation organized and existing under the laws of the state
 27   of Delaware, with an established place of business located at 23000 West Empire
 28   Avenue, 7th Floor, Burbank, California 91504. According to recent papers filed with
                                                   5
Case 8:21-cv-00338-CJC-ADS Document 1 Filed 02/19/21 Page 6 of 37 Page ID #:6



  1   the California Secretary of State, MindGeek USA Incorporated also maintains a
  2   business, mailing, and street address at 21800 Oxnard Street, Suite 150, Woodland
  3   Hills, California 91367. Collectively, Defendants transmit millions upon millions of
  4   videos and images to and from this State on an annual basis. And according to
  5   analytics Defendants recently posted on Pornhub.com, Los Angeles, California is the
  6   fourth city by volume of Pornhub.com usage.
  7          21.    Defendants have also purposefully availed themselves of this Court’s
  8   jurisdiction, including in the case of MindGeek S.A.R.L. and MindGeek USA, Inc.,
  9   by having litigated in this District. See Preservation Technologies, LLC v. MindGeek
 10   USA, Inc. and MindGeek S.A.R.L., Case No. 2:17-cv-08906-DOC-JPR (C.D. Cal.).
 11          22.    Jurisdiction is further appropriate under 18 U.S.C. §1596, which
 12   provides for jurisdiction over any offender, in addition to any “domestic or extra-
 13   territorial jurisdiction otherwise provided by law,” where the offender is “present in
 14   the United States, irrespective of the nationality of the alleged offender.”
 15          23.    Venue is proper in this district pursuant to 28 U.S.C. § 1391 because a
 16   substantial part of the events or omissions giving rise to the claims asserted in this
 17   action occurred in the judicial district where this action was brought. Venue is also
 18   appropriate in this district because defendant MindGeek USA, Inc. maintains a place
 19   of business in this district.
 20   I.     SEX TRAFFICKING AND CHILD PORNOGRAPHY ON THE
 21          INTERNET
 22          24.    Sex trafficking and the proliferation of child pornography are rapidly
 23   growing problems in the United States. Human trafficking is a 150-billion-dollar
 24   industry. Out of an estimated 40.3 million victims, 25% are children.1
 25          25.    The rise of the Internet and e-commerce has facilitated the rapid growth
 26   of the market for child pornography online. The Internet and digital technologies
 27
      1
       https://coil.com/p/RileyQ/Child-Trafficking-What-You-Need-To-
 28   Know/mj4WEwhW7
                                                  6
Case 8:21-cv-00338-CJC-ADS Document 1 Filed 02/19/21 Page 7 of 37 Page ID #:7



  1   have created new models for sexual exploitation and trafficking, which are hidden
  2   and protected by cryptocurrency, laundered money, foreign Internet servers and
  3   anonymous messaging applications. The Child Rescue Coalition alone has identified
  4   71 million unique IP addresses worldwide sharing and downloading sexually explicit
  5   images and videos of children.2
  6         26.    The Internet is the number one platform for customers to buy and sell
  7   sex with children in the United States. Many sex buyers use the Internet to identify
  8   and connect with sellers and victims. Traffickers, in turn, use online networks, social
  9   media, websites, and dating tools to disguise their identities while identifying
 10   potential victims, which reduces traffickers’ chances of being caught by law
 11   enforcement.
 12         27.    Americans are some of the top consumers and producers of child
 13   pornography. According to the U.S. Department of Justice, “Federal law defines
 14   child pornography as any visual depiction of sexually explicit conduct involving a
 15   minor (persons less than 18 years old).”
 16         28.    According to the National Center for Missing & Exploited Children,
 17   their cyber tip line has received more than 50 million reports of suspected child
 18   exploitation from 1998 through 2019, with 18.4 million reports in 2018 alone. The
 19   vast majority of these reports contain child sexual abuse material, most of which is
 20   on the Internet. North America now hosts 37% of child sexual abuse content and
 21   children under the age of 10 now account for 22% of online porn consumption among
 22   those under the age of 18, while 10-14 year-olds make up 36%.3
 23         29.    The link between sexual exploitation and pornographic videos is
 24   undeniable. According to an article by Melissa Farley, 49 percent of sexually
 25

 26   2
        Id.
      3
        https://www.prnewswire.com/news-releases/enough-is-enough-calls-on-doj-to-
 27   investigate-mindgeek-for-a-trifecta-of-potential-us-law-violations-child-abuse-
      material-trafficking-videos-and-obscene-content-301196447.html
 28
                                                 7
Case 8:21-cv-00338-CJC-ADS Document 1 Filed 02/19/21 Page 8 of 37 Page ID #:8



  1   exploited women say pornographic videos of them were made while they were being
  2   sold for sex.4
  3         30.    As just one example, in 2009, fourteen-year-old girl Rose Kalemba went
  4   for a walk when a man appeared from the shadows, forced her into a car at
  5   knifepoint.5 He and a second man raped her while a third man filmed parts of the
  6   assault. The men threatened to kill her before they dumped her in the street, a thirty-
  7   minute walk from her house. A few months later, she was browsing MySpace where
  8   several kids from her school were sharing a link. Rose was tagged in the link so she
  9   clicked on it and was directed to Pornhub where several videos had been posted
 10   depicting her attack. The titles of the videos made it clear that she was underage:
 11   “teen crying and getting slapped around” and “teen getting destroyed.” Others
 12   indicated that she was both unconscious and underage: “passed out teen.” One of
 13   the videos had over 400,000 views. Within days, most of the children at Rose’s
 14   school had seen the videos. Rose then emailed Defendants over a period of six
 15   months begging for them to take down the videos with no reply. The videos remained
 16   live. Finally, Rose set up a new email address posing as a lawyer and threatened
 17   legal action if the videos were not removed. Only then did Defendants finally take
 18   down the videos.
 19   II.   THE TVPA AND TVPRA
 20         31.    In response to the growing problem of sex trafficking, in 2000, Congress
 21   passed the Trafficking Victims Protection Act (“TVPA”), which laid the groundwork
 22   for the federal response to human trafficking.
 23         32.    In 2003, Congress reauthorized the TVPA and passed the Trafficking
 24   Victims Protection Reauthorization Act of 2003, Pub. L. No. 108-193, § 4(a)(4)(A),
 25

 26   4
        “Renting an Organ for Ten Minutes: What Tricks Tell Us about Prostitution,
      Pornography, and Trafficking,” in Pornography: Driving the Demand in
 27   International Sex Trafficking, ed. David E. Guinn and Julie DiCaro (Bloomington,
      IN: Xlibris, 2007), 145.
 28   5
        https://www.bbc.com/news/stories-51391981
                                                 8
Case 8:21-cv-00338-CJC-ADS Document 1 Filed 02/19/21 Page 9 of 37 Page ID #:9



  1   117 Stat. 2875, 2878 (2003) (“TVPRA”). Under the TVPRA, trafficking victims can
  2   sue their traffickers in federal court.
  3         33.    In 2008, Congress amended the TVPRA to make it easier for victims of
  4   trafficking violations to bring civil suits. First, the civil remedy was expanded to
  5   include enterprise liability.    It was likewise expanded to include anyone who
  6   “knowingly benefits, financially or by receiving anything of value from participation
  7   in a venture which that person knew or should have known has engaged
  8   in an act in violation of this chapter.” 18 U.S.C. § 1595(a).        Second, Congress
  9   expanded the statute’s reach to include extraterritorial jurisdiction for certain
 10   trafficking offenses. Id. The statute of limitations is ten years, or ten years after the
 11   victim turned 18 if the victim was a minor. See id. § 1595(c).
 12         34.    Commercialization of sex acts involving minors is a violation of the
 13   TVPRA. Under the TVPRA,
 14         (a)Whoever knowingly—
 15         (1) in or affecting interstate or foreign commerce, or within the special
 16         maritime and territorial jurisdiction of the United States, recruits, entices,
 17         harbors, transports, provides, obtains, advertises, maintains, patronizes, or
 18         solicits by any means a person; or
 19         (2) benefits, financially or by receiving anything of value, from participation
 20         in a venture which has engaged in an act described in violation of paragraph
 21         (1), knowing, or, except where the act constituting the violation of paragraph
 22         (1) is advertising, in reckless disregard of the fact, that means of force, threats
 23         of force, fraud, coercion described in subsection (e)(2), or any combination of
 24         such means will be used to cause the person to engage in a commercial sex
 25         act, or that the person has not attained the age of 18 years and will be caused
 26         to engage in a commercial sex act, shall be punished as provided in subsection
 27         (b).
 28
                                                  9
Case 8:21-cv-00338-CJC-ADS Document 1 Filed 02/19/21 Page 10 of 37 Page ID #:10



   1   18 U.S.C. §1591(a). Under §1595(a), not only perpetrators who act “knowingly”
   2   under §1591, but also “whoever knowingly benefits, financially or by receiving
   3   anything of value from participation in a venture which that person knew or should
   4   have known has engaged in an act in violation of this chapter” is civilly liable.
   5          35.   In 2018, in response to platforms such as those run by Defendants
   6   knowingly allowing human trafficking to occur and profiting from it, Congress
   7   passed the Allow States and Victims to Fight Online Sex Trafficking Act/Stop
   8   Enabling Sex Traffickers Act (FOSTA/SESTA). Pornhub and other tube sites run
   9   by Defendants have traditionally been shielded from liability under Section 230 of
  10   the Communications Decency Act, which protects internet platforms on which
  11   members of the public post their own content. The new statute, however, makes it
  12   illegal to knowingly assist, facilitate, or support sex trafficking, and amends the
  13   Communications Decency Act’s Section 230 safe harbors (which make online
  14   services immune from civil liability for their users’ actions) to authorize enforcement
  15   of federal or state sex trafficking laws.
  16   III.   DEFENDANTS’ BUSINESS MODEL
  17          36.   Defendants constitute a series of privately held companies that operate
  18   many popular pornographic websites, including, among others, Pornhub, RedTube,
  19   and YouPorn. Defendants also operate many adult film production companies,
  20   including Brazzers, Digital Playground, Men.com, Reality Kings, Sean Cody, and
  21   WhyNotBi.com.
  22          37.   As explained by Defendants’ leadership in a recently authored letter to
  23   the Canadian Parliament:
  24                Our flagship video sharing platform is Pornhub. Created
  25                in 2007, Pornhub is a leading free, ad-supported, adult
  26                content hosting and streaming website, offering visitors
  27                the ability to view content uploaded by verified users,
  28                models, and third-party adult entertainment companies.
                                                   10
Case 8:21-cv-00338-CJC-ADS Document 1 Filed 02/19/21 Page 11 of 37 Page ID #:11



   1                Pornhub Premium, our subscription service, provides
   2                subscribers with additional exclusive studio-produced
   3                content in an ad-free environment.6
   4         38.    In 2019, Pornhub had roughly 42 billion visits, an average of 115 million
   5   visits per day. This made Pornhub the eighth most visited website in the United
   6   States, falling just behind such household names as: Google.com (1st), YouTube.com
   7   (2nd), Facebook.com (3rd), Amazon.com (4th), Yahoo.com (5th), Twitter.com (6th),
   8   and Instagram.com (7th).      And beating out such other household names as:
   9   Wikipedia.org, Zillow.com, and Zoom.us.7
  10         39.    Further,   according   to   analytics   Defendants   have    posted   on
  11   Pornhub.com, the United States is the top country by volume of Pornhub.com usage
  12   and, Los Angeles, California is the fourth city by volume of the same.
  13         40.    Defendants’ leadership, of course, is aware of its massive success. In
  14   their letter to Canadian Parliament, Defendants’ executives wrote:
  15                Demand for online adult entertainment is as old as the
  16                internet. Demand for MindGeek’s content rivals that of
  17                some of the largest social media platforms. For example,
  18                in 2020, Pornhub averaged over 4 million unique user
  19                sessions per day in Canada alone, equivalent to over 10%
  20                of the adult Canadian population.8
  21         A.     Defendants’ Business Embraces User-Generated Uploads of
  22                Commercial Sex Acts
  23         41.    The most popular feature on Pornhub is a searchable library. As of
  24   December 1, 2020, Pornhub had about 14,000,000 pornographic videos in its free
  25   video library.
  26   6
         https://www.ourcommons.ca/Content/Committee/432/ETHI/Brief/BR11079307/br
       -external/MindGeek-e.pdf
  27   7
          https://www.similarweb.com/top-websites/united-states/
       8
         https://www.ourcommons.ca/Content/Committee/432/ETHI/Brief/BR11079307/br
  28   -external/MindGeek-e.pdf
                                                 11
Case 8:21-cv-00338-CJC-ADS Document 1 Filed 02/19/21 Page 12 of 37 Page ID #:12



   1           42.    Pornhub and many of the other websites operated by Defendants are
   2   “tube sites.” Meaning, Pornhub’s interface is similar to YouTube, with individual
   3   users—not formal studios—uploading much of the content and comments available
   4   for viewing.
   5           43.    Pornhub depends heavily on this community of user-creators. Until
   6   recently, in order to upload a video or image to Pornhub, all a user need do was create
   7   an account, click on the upload button next to the search bar, upload their content,
   8   and decide whether the content should be shown in standard or high definition.9
   9           44.    The process takes less than ten minutes. A user can post any video or
  10   image of any person doing anything without any consequences. The user does not
  11   have to demonstrate that he or she owns the copyrights in the content, that those
  12   depicted in the content have consented, or that those depicted in the content are of
  13   majority age.
  14           45.    Defendants make it easy for users to upload to its network of websites
  15   to maximize their exposure, which includes, Pornhub , Redtube, and YouPorn.
  16           46.    Defendants also have mechanisms for users to participate in the profits
  17   from their content. For example, to the extent a user is hoping to participate in the
  18   earnings from their uploads to Pornhub, Pornhub has a Model Program, in which
  19   users get “verified” by Pornhub staff and are paid a percentage of the ad revenue
  20   made on their verified content.
  21           47.    Getting verified in Pornhub’s Model Program only requires a user to
  22   upload a photo purportedly of himself or herself showing their username.            In
  23   describing verification, Pornhub encouraged users to “prove that you are real, stand
  24   out and attract more attention from other Pornhub community users!” But all that is
  25   needed is a Pornhub account, an avatar uploaded to the user’s account, and a
  26   verification image. The verification image requires only that the user hold up a photo
  27   with his or her username and pornhub.com written on it (or written on the user’s
  28   9
           https://help.pornhub.com/hc/en-us/articles/229817547-How-do-I-upload-videos-
                                                  12
Case 8:21-cv-00338-CJC-ADS Document 1 Filed 02/19/21 Page 13 of 37 Page ID #:13



   1   body). Pornhub requires that the video show a picture of the user’s face and required
   2   that the user not wear a mask or sunglasses in the picture.
   3         48.    The below are actual examples given by Pornhub showing all that has
   4   been required for a user to become verified with Pornhub’s “Model Program.”
   5

   6

   7

   8

   9

  10

  11

  12         49.    In order to sign up in Pornhub’s Model Hub program, a user is not even
  13   required to list his or her birthdate. If a user clicks through the signup process, he or
  14   she is only alerted if they fail to note their gender on the Model Hub application.
  15         50.    Indeed, Pornhub lists many reasons on their site why a Model Hub
  16   Verification Image might be rejected. The fact that an applicant may not be 18 years
  17   old is not one of the reasons. The only reasons described on Pornhub’s site are: (1)
  18   the photo does not show a person, (2) the photo does not show a username, (3) the
  19   photo does not say “pornhub.com,” (4) the model’s face is not in the photo, (5) the
  20   text is illegible, (6) the text is digital (vs. handwritten), (7) the applicant tries to be
  21

  22

  23

  24

  25

  26

  27

  28
                                                    13
Case 8:21-cv-00338-CJC-ADS Document 1 Filed 02/19/21 Page 14 of 37 Page ID #:14



   1   verified using a gender other than what is listed on their application, and (8) the
   2   applicant tries to be verified as a couple when the applicant is a single person:
   3

   4

   5

   6

   7

   8

   9

  10

  11

  12

  13

  14
             51.    In short, no age verification exists. The only time age is even referenced
  15
       in the process is when Pornhub requires a user to check a box indicating that they are
  16
       over the age of 18 when uploading their photograph. Defendants take no action to
  17
       confirm the age of the model applicant in the submission process.
  18
             52.    There is also the other problem that even if a Model Hub applicant
  19
       posted a legitimate photo of themselves where they were over the age of 18 in order
  20
       to obtain Pornhub’s “verification” checkmark, there is nothing to stop Model Hub
  21
       users from uploading videos of someone else who is not over the age of 18.
  22
             53.    For “verified” Model Hub users, the name is obviously deceptive, as the
  23
       only thing MindGeek verifies is that someone can hold up a piece of paper with
  24
       writing on it. There is no requirement to use government-issued identification. And
  25
       the verification process has nothing to do with the people appearing in the videos or
  26
       images, whose age, as described more below, also went entirely unverified.
  27

  28
                                                  14
Case 8:21-cv-00338-CJC-ADS Document 1 Filed 02/19/21 Page 15 of 37 Page ID #:15



   1         54.    Clearly, the so-called “verification” process associated with ModelHub
   2   does nothing to protect victims of child sex trafficking. Pornhub acknowledged as
   3   much when it admitted to giving its “seal of approval” for 58 videos in which a 15-
   4   year-old girl was repeatedly assaulted, allowing Pornhub and the victim’s traffickers
   5   to profit from her repeated rape.
   6

   7

   8

   9

  10

  11

  12

  13

  14

  15

  16

  17

  18         55.    Another way in which MindGeek stands out is that, until very recently,
  19   any user of MindGeek could also download videos and images from its websites.
  20   This meant that even if victims could convince a website to take down a video
  21   depicting child pornography, their videos were frequently uploaded anew and/or
  22   recirculated on other websites by users who had already downloaded the content.
  23         B.     Defendants Knowingly Benefit From Child Sex Trafficking
  24                1.    Defendants Have Earned Enormous Profits
  25         56.    Defendants generate substantial advertising revenue by hosting
  26   advertisements on their sites using their TrafficJunky ad network and other sites,
  27   which receive billions of ad impressions on a daily basis.
  28
                                                 15
Case 8:21-cv-00338-CJC-ADS Document 1 Filed 02/19/21 Page 16 of 37 Page ID #:16



   1          57.    There’s no question that financial considerations drive the content on
   2   MindGeek’s websites. MindGeek collects money from ads featured with its unpaid
   3   videos. It also collects subscriptions from premium users of its websites. Those
   4   subscriptions generated $1.3 billion in revenue between 2012 and 2018.10 Following
   5   an investigation from the New York Times revealing the extent of child pornography
   6   featured on Pornhub’s website, multiple financial institutions, including Visa,
   7   Mastercard, and Discover, stopped processing transactions for Pornhub. Within
   8   days, Pornhub removed 10 million videos, nearly two-thirds of the videos on its site.
   9   After the New York Times investigation, Mindgeek’s auditor, Grant Thornton,
  10   resigned.11
  11          58.    Pornhub has since made modifications to its website, like limiting
  12   content to that posted only by “verified” users in its Model Hub program. Of course,
  13   as described above, restricting content on Pornhub to only “verified” users is
  14   meaningless because Pornhub has no age verification process in place to confirm that
  15   “verified” users are over the age of 18. Nor does Pornhub have a mechanism in place
  16   to confirm that the user posting the video or photograph is the same as the user
  17   depicted in the video or photograph.
  18                 2.     Defendants Facilitate Child Sex Trafficking By Encouraging
  19                        Users To Target Underage Content
  20          59.    In an effort to attract attention and revenues, users post content that
  21   generates traffic. Often this content is child pornography.
  22          60.    Defendants knowingly participate in and capitalize on this user interest.
  23   In December of 2020, searches of Pornhub for terms like “girlsunder18” or “14yo”
  24   lead to more than 100,000 videos.12 What’s more, Pornhub has recently offered
  25
       10
         https://www.irishtimes.com/business/economy/grant-thornton-resigns-as-auditor-to-firms-
  26   owned-by-pornhub-operator-1.4480517
       11
          Id.
  27   12
          https://www.nytimes.com/2020/12/04/opinion/sunday/pornhub-rape-
       trafficking.html
  28
                                                     16
Case 8:21-cv-00338-CJC-ADS Document 1 Filed 02/19/21 Page 17 of 37 Page ID #:17



   1   playlists with names like “less than 18,” “the best collection of young boys,” and
   2   “under---age” in an effort to entice users who would like to see content featuring
   3   underage victims.13 Pornhub also allows members with names like “13yoboyteen”
   4   to post videos.14 And Defendants have intentionally deleted words from video titles
   5   that describe criminal content, but left the actual videos on its site.
   6           61.   Defendants also use the massive quantity of data it collects about its
   7   users to facilitate the distribution of child pornography. By collecting data about its
   8   users, Defendants are able to track users preferences. When a user signs up to for a
   9   Pornhub account, he or she is directed to fill out a survey describing their preferences,
  10   including hair, color, body art, ethnicity, and breast size. The user describes their
  11   sex, sexual preference, and whether they are single or part of a couple. The user is
  12   also presented with dozens of Pornhub categories to choose from, including
  13   “babysitter,” “college,” and “school” categories. Pornhub also recommends that
  14   users sign up to follow certain channels, “pornstars,” and community members to
  15   better target the content they receive. And, of course, Pornhub asks whether a user
  16   prefers to view “professional” or “homemade” videos. Pornhub then uses this
  17   information to target users with videos that suit their preferences.
  18           62.   Even for users who don’t voluntarily provide all of this data to Pornhub,
  19   Pornhub acquires a significant amount of data. Whenever a user views a page on
  20   Pornhub, the website automatically receives their IP address, how full their battery
  21   is, what browser version they are using, their time zone, their system fonts, their
  22   screen resolution, and what plugins they have installed.15 This allows Pornhub to
  23   create a digital fingerprint that tracks users over time and across websites. As
  24   Pornhub learns more about its users’ preferences, it suggests videos it thinks they
  25   will like.    So if a user indicates a preference for child pornography, Pornhub
  26   intentionally directs that user to its illegal content.
  27   13
            Id.
       14
            Id.
  28   15
            https://www.vice.com/en/article/kzmmpa/pornhub-xhamster-data-about-you
                                                    17
Case 8:21-cv-00338-CJC-ADS Document 1 Filed 02/19/21 Page 18 of 37 Page ID #:18



   1         63.   Besides the entirely inadequate verification process described above,
   2   Defendants’ only “protection” against the posting of underage content and other
   3   illegal content is that they hires certain moderators who view “every video and photo
   4   uploaded to Pornhub.”
   5

   6

   7

   8

   9

  10

  11

  12

  13

  14

  15

  16
             64.   Although Defendants claim the goal of content moderation is to locate
  17
       and prevent the streaming of child pornography and other illegal material, the truth
  18
       is that “the goal for a content moderator is to let as much content as possible go
  19
       through” because Defendants’ focus is maximizing revenue.16
  20
             65.   Defendants’ profit-maximizing goal is made plain by the following:
  21
       Despite the fact that 1.36 million new hours of video are uploaded each year to
  22
       Pornhub, Defendants employ only 80 moderators across all of its websites
  23
       worldwide.17 By contrast, Facebook has 15,000 moderators.18
  24

  25

  26
       16
          https://www.nytimes.com/2020/12/04/opinion/sunday/pornhub-rape-
  27   trafficking.html
       17
          Id.
  28   18
          Id.
                                                 18
Case 8:21-cv-00338-CJC-ADS Document 1 Filed 02/19/21 Page 19 of 37 Page ID #:19



   1          66.   On information and belief, only around ten people on Defendants’
   2   moderator team are working at any given time throughout the day. They also lack
   3   any specialized training.
   4          67.   Looking just at the year 2019, according to Pornhub there were
   5   approximately 18,000 videos uploaded to that website daily, with an average length
   6   of approximately 11 minutes each.19 Assuming each of the 10 moderators were
   7   focused solely on Pornhub, and worked a full 8-hour shift, they would be required to
   8   review 1,800 11-minute videos every day, where they are screening for not just child
   9   pornography but other inappropriate content such as bestiality and even murder.
  10   That’s 19,800 minutes of upload every day, meaning a single moderator is somehow
  11   required to view 2,475 minutes per hour.
  12          68.   Defendants know that that is an impossible task, and that it necessarily
  13   leads to moderators quickly fast forwarding through, or even skipping videos/images
  14   entirely.
  15          69.   But Defendants’ business model profits from sexual videos and images
  16   featuring underage victims, and Defendants’ claim that it acts “swiftly and promptly”
  17   when users violate its Terms of Service is belied by the many stories of victims whose
  18   photos and videos have been streamed on Pornhub for years with no action.
  19          70.   Notably, on Pornhub’s ModelHub page, Defendants advertise their
  20   ability to use DMCA and fingerprinting to protect pirating of videos. Meaning, when
  21   it comes to preserving revenue, Defendants have long since demonstrated both an
  22   interest and technical ability to monitor and protect against access. Despite being
  23   fully aware of the problem of child trafficking, Defendants did not employ similarly
  24   advanced methods to filter for underage or other illegal content.20
  25

  26

  27   19
         https://www.pornhub.com/insights/2019-year-in-review
       20
         https://www.pornhub.com/partners/models?_ga=2.200643118.1816855087.1613
  28   736072-62734983.1613736072
                                                  19
Case 8:21-cv-00338-CJC-ADS Document 1 Filed 02/19/21 Page 20 of 37 Page ID #:20



   1                  3.    Defendants Have Admitted That Videos Featuring Underage
   2                        Persons Are Some Of The Most Popular/Sought-After
   3                        Content In Its Entire Library
   4           71.    In its explanation of “How to Succeed,” on Defendants’ Pornhub
   5   website, Defendants direct users to use up to 16 tags that describe the video and
   6   performers; select up to 8 relevant categories; when applicable, use niche specific
   7   categories to ensure content is visible to the “right” fans; write a creative title that
   8   describes the scene, and add a stage name to the title of the video. These tactics are
   9   all designed to generate as much traffic as possible. The more sensational the video,
  10   the more likely it is to be streamed and generate revenues. Defendants’ categories
  11   demonstrate how it is specifically targeting viewers who are interested in child
  12   pornography, with categories like “teen,” “school,” “babysitter” and “old/young.”21
  13   On the page explaining video categories, Defendants acknowledged that Teen is one
  14   of its most popular categories.22
  15           72.    Defendants’ description of what titles to use similarly reflects their
  16   instructions to users to make titles “enticing” so that “users will be curious enough
  17   to click!”23 For example, in its explanation of a bad vs. good title selection,
  18   Defendants describe how adding that a student is a participant in the video will entice
  19   users to click.24
  20           C.     Defendants Know That Its Websites Are Known For Sex
  21                  Trafficking Activity
  22           73.    This is not a situation where Defendants can credibly claim ignorance.
  23   There are numerous ways in which Defendants have been made aware of the fact that
  24   its websites have become a go-to home for child pornography.
  25

  26
       21
            https://help.pornhub.com/hc/en-us/articles/115007986887-Video-Categories
  27   22
            Id.
       23
            https://help.pornhub.com/hc/en-us/articles/115007986747-Video-Titles
  28   24
            Id.
                                                  20
Case 8:21-cv-00338-CJC-ADS Document 1 Filed 02/19/21 Page 21 of 37 Page ID #:21



   1                1.     The Presence Of Underage Pornography Is Obvious From
   2                       Language On Defedants’ Own Websites
   3         74.    To start, Defendants need go no further than the language used on their
   4   own websites.
   5         75.    For example, until very recently, a simple search of PornHub revealed
   6   countless examples of the presence—and indeed aggressive marketing—of underage
   7   pornography.
   8         76.    As just one example, the New York Times recently reported that, as of
   9   December 4, 2020, a search on Pornhub for “girlunder18” led to more than 100,000
  10   videos.25
  11         77.    Similarly, as of December 4, 2020, a search on Pornhub for “14yo” led
  12   to more than 100,000 videos.26 And a search for “13yo” led to approximately
  13   155,000 videos.27 “Girl with braces” turned up 1,913 videos and suggested to also
  14   try searching for “exxxtra small teens.”28
  15         78.    The Sunday Times similarly reported that, as of November 2019, while
  16   Pornhub had blocked users from searching terms such as “underage” and “child
  17   porn”, synonyms including “jailbait”, “very young girl”, and “lolita” could still be
  18   used to locate content.29
  19         79.    Beyond the searches, Defendants have allowed members with
  20   usernames such as “13yoboyteen” to post videos to Pornhub, and recently promoted
  21   “playlists” with names such as “less than18,” “the best collection of young boys” and
  22   “under—age.”
  23

  24   25
          https://www.nytimes.com/2020/12/04/opinion/sunday/pornhub-rape
       trafficking.html
  25   26
          https://www.nytimes.com/2020/12/04/opinion/sunday/pornhub-rape
       trafficking.html
  26   27
          https://www.nytimes.com/2020/12/04/opinion/sunday/pornhub-rape
       trafficking.html
  27   28
          https://www.nytimes.com/2020/12/04/opinion/sunday/pornhub-rape
       trafficking.html
  28   29
          Need cite.
                                                    21
Case 8:21-cv-00338-CJC-ADS Document 1 Filed 02/19/21 Page 22 of 37 Page ID #:22



   1                  2.    Presence Of Underage Pornography Brought To
   2                        Defendants’ Attention Via Victims
   3         80.      Victims and their families have also notified Defendants of the presence
   4   of child pornography on their websites.
   5         81.      Rose Kalemba, described in paragraph 30, spent six months emailing
   6   various employees of Defendants in vain, begging them to take down the footage of
   7   her abuse.30
   8         82.      In her own words: “I sent Pornhub begging emails. I pleaded with them.
   9   I wrote, ‘Please, I’m a minor, this was assault, please take it down.’” She received
  10   no reply and the videos remained live.31
  11         83.      It was only removed after Ms. Kalemba had the idea to create a new
  12   email account, posed as a lawyer, and send a threatening email, that Pornhub finally
  13   took down the content.32
  14         84.      Serena Fleites. Ms. Fleites, aged just 14, was recorded in a video that
  15   was then uploaded to PornHub.33 In testimony before the House of Commons ethics
  16   committee, she explained; “The titles would always be something like ‘preteen,’
  17   ‘young teen.’”
  18         85.      Ms. Fleites further testified that it took Pornhub more than a week to
  19   remove the video, which it only agreed to do after she was asked multiple times to
  20   prove that it was, in fact, her video and that she was underage. As she put it: “It was
  21   very obvious it was a child in the video . . . Even if I wasn’t the girl in that video,
  22   they could still tell that was a child in that video and they were still dragging out that
  23   process.”34
  24

  25   30
          https://www.bbc.com/news/stories-51391981
       31
          https://www.bbc.com/news/stories-51391981
  26   32
          https://www.bbc.com/news/stories-51391981
       33
          https://www.thestar.com/news/canada/2021/02/01/child-porn-victim-testifies-
  27   during-day-1-of-pornhub-discussions-at-committee.html
       34
          https://www.thestar.com/news/canada/2021/02/01/child-porn-victim-testifies-
  28   during-day-1-of-pornhub-discussions-at-committee.html
                                                   22
Case 8:21-cv-00338-CJC-ADS Document 1 Filed 02/19/21 Page 23 of 37 Page ID #:23



   1         86.    Avri Sapir. 19-year-old sex abuse survivor-turned-activist Ms. Sapir
   2   posted the following to twitter:
   3

   4

   5

   6

   7

   8

   9

  10         87.    She went on to explain: “The more views they got, the more ads were
  11   put around and in front of the videos. I flagged the videos as ‘underage’ and filled
  12   out the ‘content removal request form’, but nothing happened. I watched the view
  13   count tick up faster and faster.”35
  14                3.     Presence Of Underage Pornography Brought To
  15                       Defendants’ Attention Via Third-Party Reporting
  16         88.    Numerous media outlets have also notified Defendants of the presence
  17   of child pornography on their websites.
  18         89.    In October of 2018, numerous print outlets ranging from the New York
  19   Post36 to the Mercury News37 reported that an investigation was launched after a high
  20   school student recognized his classmate—a 14-year-old girl—in a video uploaded to
  21   Pornhub. The video depicted the young girl being sexually assaulted by a substitute
  22   teacher. The classmate notified the principal, who in turn contacted authorities.
  23

  24

  25   35
          https://www.nzherald.co.nz/world/child-abuse-victim-says-pornhub-profited-
       from-her-child-rape/W2MFWK6XLXP5RFYETS7J7LVBSQ/
  26   36
          https://nypost.com/2018/10/26/videos-on-pornhub-showed-female-teacher-
       having-sex-with-teen-girl-cops/
  27   37
          https://www.mercurynews.com/2018/10/26/pornhub-videos-lead-to-redwood-
       city-womans-arrest/
  28
                                                 23
Case 8:21-cv-00338-CJC-ADS Document 1 Filed 02/19/21 Page 24 of 37 Page ID #:24



   1         90.    Just one month later, in November 2019, the Sunday Times of London
   2   published an investigation in which it questioned Pornhub’s claim that it “bans
   3   content showing under-18s and removes it swiftly.”38 It reported that, in just minutes
   4   of searching on the website, it was able to find dozens of examples of illegal material.
   5   Including an entire account called “Candid teen asses,” devoted to posting covertly
   6   filmed “creepshots” of girls in their school uniforms.39 And then there were the
   7   videos featuring victims as young as three years old.40
   8         91.    Many of the videos the newspaper located had more than 350,000 views,
   9   and had had been on the platform for years.41
  10         92.    Even after the Sunday Times flagged certain specific videos for
  11   Defendants, three of the worst clips remained on Pornhub some 24 hours later.42
  12         93.    More recently, New York Times columnist Nicholas Kristof wrote a
  13   lengthy article entitled: “The Children of Pornhub: Why does Canada allow this
  14   company to profit off videos of exploitation and assault? That article is described in
  15   more detail below.
  16                4.      Presence Of Underage Pornography Brought To
  17                        Defendants’ Attention Via Advocacy Groups
  18         94.    Numerous advocacy groups have devoted significant resources to
  19   bringing attention to the ubiquitous problem of child pornography on Defendants’
  20   various websites.
  21         95.    The Internet Watch Foundation, which assesses and gets removed from
  22   the internet child sexual abuse images and videos every year, reported that it found
  23

  24

  25   38
          https://www.thetimes.co.uk/article/unilever-and-heinz-pay-for-ads-on-pornhub-
       the-worlds-biggest-porn-site-knjzlmwzv
  26   39
          Id.
       40
          Id.
  27   41
          Id.
       42
          Id.
  28
                                                  24
Case 8:21-cv-00338-CJC-ADS Document 1 Filed 02/19/21 Page 25 of 37 Page ID #:25



   1   118 instances of child sexual abuse imagery on Pornhub between 1 January 2017,
   2   and 29 October 2019.43
   3            96.     TraffickingHub has also launched a worldwide campaign to bring
   4   attention to Defendants’ bad acts, including gathering over 2 million signatures for a
   5   petition to shut down Pornhub and hold its executives accountable for aiding
   6   trafficking.44
   7                    5.    Presence of Underage Victims Brought to Defendants’
   8                          Attention Via Government-Led Investigations
   9            91.     The governments of multiple countries have also become involved in
  10   this issue, launching investigations into the Pornhub’s wrongdoing.
  11            92.     In the United States, Senator Ben Sasse wrote to U.S. Attorney General
  12   Bill Barr, calling for a federal investigation into Pornhub and its owner MindGeek
  13   for their involvement in streaming videos of raped and exploited women and
  14   children. In his letter he explained:
  15                    In several notable incidents over the past year, Pornhub
  16                    made content available worldwide showing women and
  17                    girls that were victims of trafficking being raped and
  18                    exploited. Indeed, the problem of Pornhub streaming
  19                    content featuring women and children victims of sex
  20                    trafficking reached the point in November that Paypal cut
  21                    off services for Pornhub, refusing to facilitate this abuse
  22                    any longer… Pornhub must not escape scrutiny. I
  23                    therefore   request   that   the   Department   open    an
  24                    investigation into Pornhub and its parent entity MindGeek
  25                    Holding SARL for their involvement in this disturbing
  26

  27   43
            https://www.iwf.org.uk/news/pornhub-data-out-of-context-tells-us-nothing
       44
            https://traffickinghub.com/
  28
                                                      25
Case 8:21-cv-00338-CJC-ADS Document 1 Filed 02/19/21 Page 26 of 37 Page ID #:26



   1                pipeline of exploiting children and other victims and
   2                survivors of sex trafficking.45
   3         93.    The same calls for action are being heard in Canada, where Canadian
   4   Members of Parliament from four parties sent an open letter to Canada’s Minister of
   5   Justice, Attorney General David Lametti, along with Prime Minister Justin Trudeau,
   6   demanding a government response to what is happening on Pornhub.46
   7         D.     The New York Times Investigation
   8         94.    Despite their apparent knowledge of this growing problem, for over a
   9   decade, Defendants took no action.
  10         95.    Then, in December 2020, Nicholas Kristof of the New York Times
  11   published a detailed investigation that chronicled all the ways Pornhub monetizes
  12   child rapes and revenge pornography.47 “The site is infested with rape videos,”
  13   Kristof wrote. “It monetizes child rapes, revenge pornography, spy cam videos of
  14   women showering, racist and misogynist content, and footage of women being
  15   asphyxiated in plastic bags.”
  16         96.    Kristof wrote that there are more than 6.8 million new videos posted on
  17   Pornhub each year, many of which depict child abuse.
  18         97.    The story referenced a woman named Cali who was forced to appear in
  19   pornographic videos beginning at the age of nine, many of which ended up on
  20   Pornhub and regularly reappear there. Kristof described how he came across many
  21   videos on Pornhub featuring unconscious girls, with rapists opening the eyelids of
  22   the victims and touching their eyeballs to demonstrate that they were, in fact,
  23   unconscious.
  24         98.    Kristof wrote: “In the last few days as I was completing this article, two
  25   new videos of prepubescent girls being assaulted were posted, along with a sex video
  26   45
          https://www.sasse.senate.gov/public/_cache/files/06557325-43d1-4aed-8e34-
       27cf8cbdfb13/3-10-20-sasse-letter-to-ag-barr.pdf
  27   46
          https://twitter.com/ArnoldViersen/status/1331647921692041216?s=20
       47
          https://www.nytimes.com/2020/12/04/opinion/sunday/pornhub-rape-
  28   trafficking.html
                                                  26
Case 8:21-cv-00338-CJC-ADS Document 1 Filed 02/19/21 Page 27 of 37 Page ID #:27



   1   of a 15-year-old girl who was suicidal after it went online. I don’t see how good-
   2   faith moderators could approve any of these videos.”
   3         99.    Of course, the problem is that the moderators are not acting in good
   4   faith. They are trying to get as much content through as possible to ensure traffic,
   5   because traffic equals profits.
   6         E.     Financial Institutions Cut Ties with Defendants
   7         100. Kristof’s article called for Visa, Mastercard, and American Express to
   8   suspend cooperation with Pornhub. Mastercard launched its own investigation into
   9   Kristof’s claims and said it found them to be substantiated.          In a statement,
  10   Mastercard said: “The use of our cards at Pornhub is being terminated. Our
  11   investigation over the past several days has confirmed violations of our standards
  12   prohibiting unlawful content on their site. As a result, and in accordance with our
  13   policies, we instructed the financial institutions that connect the site to our network
  14   to terminate acceptance.”48
  15         101. Visa followed suit.         Although its investigation is ongoing, Visa
  16   suspended Pornhub’s acceptance privileges while its investigation is underway and
  17   instructed the financial institutions who serve Defendants to suspend processing of
  18   payments through the Visa network.49
  19         102. Discover also cut ties with Pornhub. “We require our financial
  20   institution partners to monitor for and prevent card acceptance at merchants that
  21   allow illegal or any other prohibited activities that violate our operating standards,”
  22   Discover said in a statement. “When Discover determines merchants are offering
  23   prohibited activity, we promptly terminate card acceptance through the offending
  24   merchant's financial institution.”50
  25

  26
       48
          https://www.cnn.com/2020/12/14/business/mastercard-visa-discover-
  27   pornhub/index.html
       49
          Id.
  28   50
          Id.
                                                  27
Case 8:21-cv-00338-CJC-ADS Document 1 Filed 02/19/21 Page 28 of 37 Page ID #:28



   1         F.       Defendants Remove Millions of Videos from Their Sites
   2         103. Within days of the financial institutions cutting ties with Pornhub,
   3   Defendants finally took some action.       Most notably, they removed all content
   4   previously uploaded to its Pornhub website by unverified users, bringing the total
   5   number of videos on that one site down from 13 million to 4 million.51           On
   6   information and belief, they did nothing, however, to confirm that any of the
   7   individuals featured in any of the 4 million videos that remained on the website were
   8   of consenting adults.
   9         104. Defendants also announced that they were removing the ability for users
  10   to download content from Pornhub (with the exception of paid downloads from the
  11   “verified” Model Program), along with other changes. Despite these announcements,
  12   as evidenced in paragraphs 47-54 above, nothing substantive appears to have
  13   changed because the Model Program has no age verification requirement.52
  14   IV.   JANE DOE’S EXPERIENCE AS A VICTIM OF DEFENDANTS’ SEX
  15         TRAFFICKING
  16         105. Jane Doe was in high school when her boyfriend created four videos of
  17   the two of them engaging in sexual intercourse. She was sixteen years old at the time
  18   the videos were recorded, and some of the videos were recorded without her
  19   knowledge let alone consent.
  20         106. The relationship ended when Jane Doe’s boyfriend pushed her out of his
  21   moving car onto the street, dragging her until she was able to free herself.
  22         107. After the relationship ended, Jane Doe learned from a mutual friend that
  23   her ex-boyfriend has posted multiple videos online of the two of them engaging in
  24   sexual intercourse. Jane Doe is clearly identifiable in the videos, which were posted
  25   to various websites, including Pornhub.com, from the period of December 2019 to
  26   the present.
  27   51
          https://www.theguardian.com/technology/2020/dec/14/pornhub-purge-removes-
       unverified-videos-investigation-child-abuse
  28   52
          https://www.pornhub.com/blog/11422
                                                  28
Case 8:21-cv-00338-CJC-ADS Document 1 Filed 02/19/21 Page 29 of 37 Page ID #:29



   1         108. The postings were accompanied by crude, disparaging, misogynistic
   2   and/or racist remarks.
   3         109. The circulation of the videos and images has caused Ms. Doe great
   4   anxiety, distress and sleeplessness. She has had recurring thoughts of contemplating
   5   suicide and feelings of hopelessness, resulting in withdrawing from school and
   6   seeking therapy.
   7         110. The videos were on Pornhub for nearly a month before Jane Doe was
   8   made aware of them. Ms. Doe immediately reached out to Pornhub to have the
   9   videos taken down on March 26, 2020. While Pornhub ultimately removed the
  10   videos, they warned Ms. Doe: “We have taken it upon ourselves to fingerprint the
  11   content with Vobile on your behalf. This should effectively block future uploads of
  12   the videos. Please note that we offer no guarantee. We do not operate the Vobile
  13   service. Furthermore we recommend that you educate yourself on their services and
  14   the limitations of digital fingerprinting technology.”
  15         111. Apparently it is on Ms. Doe to ensure that the videos are never uploaded
  16   anew to Pornhub, or any of Defendants’ numerous other websites, again.
  17                            CLASS ACTION ALLEGATIONS
  18         112. Plaintiff brings this action on her own behalf, and on behalf of a class
  19   pursuant to Rule 23(a) and (b)(3) of the Federal Rules of Civil Procedure. The Class
  20   is defined as:
  21         all persons who were under the age of 18 when they appeared in a video
  22         or image that has been uploaded or otherwise made available for
  23         viewing on any website owned or operated by Defendants in the last ten
  24         years.
  25         113. Plaintiff also brings this action on behalf of:
  26         all persons residing in California who were under the age of 18 when
  27         they appeared in a video or image that has been uploaded or otherwise
  28
                                                  29
Case 8:21-cv-00338-CJC-ADS Document 1 Filed 02/19/21 Page 30 of 37 Page ID #:30



   1          made available for viewing on any website owned or operated by
   2          Defendants in the last ten years (the “California Subclass”).
   3          114. The members of the Class are so numerous that joinder of all members
   4   is impracticable. While the exact number of Class members is unknown to Plaintiff
   5   at this time and can only be ascertained through appropriate discovery, Plaintiff
   6   believes that there are many thousand members of the Class. Absent members of the
   7   Class may be notified of the pendency of this action using a form of notice similar to
   8   that customarily used in purchaser class actions.
   9          115. Plaintiff’s claims are typical of the claims of the members of the Class,
  10   as all members of the Class were similarly affected by Defendants’ wrongful
  11   common course of conduct complained of herein.
  12          116. Plaintiff will fairly and adequately protect the interests of the members
  13   of the Class and has retained counsel competent and experienced in class action
  14   litigation.
  15          117. Common questions of law and fact exist as to all members of the Class
  16   and predominate over any questions solely affecting individual members of the Class.
  17   Among the questions of law and fact common to the Class are:
  18                 (a)   Whether Defendants knowingly benefitted from child
  19                       trafficking;
  20                 (b)   Whether user-generated uploads on Defendants’ websites
  21                       feature underage victims;
  22                 (c)   Whether Defendants knew or should have known that there were
  23                       videos and/or images of underage victims on its websites; and
  24                 (d)   Whether Defendants’ age verification system prevents users
  25                       from uploading child pornography.
  26                 (e)   Whether Defendants have earned profits from child trafficking;
  27          118. A class action is superior to all other available methods for the fair and
  28   efficient adjudication of this controversy, since joinder of all members is
                                                  30
Case 8:21-cv-00338-CJC-ADS Document 1 Filed 02/19/21 Page 31 of 37 Page ID #:31



   1   impracticable. The damages suffered by individual Class members may be relatively
   2   small, the expense and burden of individual litigation makes it virtually impossible
   3   as a practical matter for members of the Class to redress individually the wrongs done
   4   to them. There will be no difficulty in the management of this action as a class action.
   5                                 FIRST CLAIM FOR RELIEF
   6                   TRAFFICKING VICTIMS PROTECTION ACT
   7                                   18 U.S.C. §§ 1591, 1595
   8                                   (Against All Defendants)
   9         119. Plaintiff incorporates each and every allegation set forth above as if fully
  10   set forth herein.
  11         120. Defendants knowingly used the instrumentalities of interstate commerce
  12   to violate 18 U.S.C. § 1595.
  13         121. Defendants knowingly benefit from child trafficking by benefitting
  14   financially from videos/images viewable on their websites that depict victims who
  15   are underage. Defendants make substantial profits with almost three billion ad
  16   impressions each day, many of which are attributable to content posted of underage
  17   victims.
  18         122. Defendants knew or should have known that the videos and images
  19   featured on their websites depicted sex trafficking. Defendants have repeatedly been
  20   made aware of the child pornography on their websites by victim’s complaints, third-
  21   party reporting, advocacy groups, and government investigations. Defendants knew
  22   or should have known that their websites are known for child sex trafficking based
  23   on all of this information.
  24         123. Defendants monetized child trafficking on their websites through
  25   revenues generated by subscriptions and advertisements.
  26         124. Rather than take action to combat the problem of child sex trafficking,
  27   Defendants intentionally catered their websites to facilitate sex trafficking and make
  28   it easier for traffickers to monetize underage victims in commercial sex acts.
                                                  31
Case 8:21-cv-00338-CJC-ADS Document 1 Filed 02/19/21 Page 32 of 37 Page ID #:32



   1         125. Defendants not only maintained affiliations with sex traffickers by
   2   enabling the posting of child pornography on their websites, they have strengthened
   3   those affiliations by making it easier to connect traffickers with those who want to
   4   view child pornography. Defendants create playlists that target those interested in
   5   child pornography; feature categories on their websites that target users interested in
   6   child pornography; instructs users to describe their videos using categories like
   7   “teen” to drive traffic; and decline to take down child pornography that generates
   8   significant streams.
   9         126. Defendants have repeatedly featured victims who have not attained the
  10   age of 18 years in videos/images on its websites. The victims have engaged in
  11   commercial sex acts because all of the videos featured on its websites generate
  12   revenue for Defendants and/or traffickers and depict sex acts.
  13         127. Defendants had a reasonable opportunity to observe the victims featured
  14   on its websites because their moderators had the opportunity to view all of the content
  15   posted thereon.
  16         128. Defendants’ conduct has harmed the Class by causing physical,
  17   psychological, financial, and reputational harm.
  18                            SECOND CLAIM FOR RELIEF
  19                       VIOLATION OF DUTY TO REPORT CHILD
  20                             SEXUAL ABUSE MATERIAL
  21                                    18 U.S.C. § 2258A
  22                                (Against All Defendants)
  23         129. Plaintiff incorporates each and every allegation set forth above as if fully
  24   set forth herein.
  25         130. As an “electronic communication service provider,” Defendants’
  26   websites are a “provider” under 18 U.S.C. § 2258E(6) and 2258A.
  27

  28
                                                  32
Case 8:21-cv-00338-CJC-ADS Document 1 Filed 02/19/21 Page 33 of 37 Page ID #:33



   1         131. Defendants obtained actual knowledge that there was online sexual
   2   exploitation material of children being published on their websites, which was an
   3   apparent violation of 18 U.S.C. § 2252.
   4         132. Defendants knowingly engaged in intentional misconduct by ignoring
   5   clear notice of the presence of actual online sexual exploitation material of children.
   6   18 U.S.C. § 2258B(b)(1).
   7         133. Defendants’ conduct constitutes a failure to act with reckless disregard
   8   to a substantial risk of causing physical injury without physical justification. 18
   9   U.S.C. § 2258B(b)(2)(B).
  10         134. Defendants’ conduct constitutes a failure to act for a purpose unrelated
  11   to the performance of any responsibility or function under 18 U.S.C. §§
  12   2258B(b)(2)(C).
  13         135. Defendants’ conduct has seriously harmed the Class, including without
  14   limitation, physical, psychological, financial, and reputational harm.
  15                             THIRD CLAIM FOR RELIEF
  16          RECEIPT AND DISTRIBUTION OF CHILD PORNOGRAPHY
  17                                    18 U.S.C. § 2252A
  18                                (Against All Defendants)
  19         136. Plaintiff incorporates each and every allegation set forth above as if fully
  20   set forth herein.
  21         137. Defendants knowingly and intentionally offer, operate, maintain an
  22   advertise on their websites. Defendants also knowingly and intentionally encourage
  23   traffic on their websites and encourage advertisers to purchase advertisement space
  24   thereon.
  25         138. Defendants knowingly received and distributed child pornography
  26   depicting Plaintiff and the Class on their websites.
  27         139. Defendants’ receipt and distribution of child pornography occurred in
  28   or affected interstate or foreign commerce.
                                                  33
Case 8:21-cv-00338-CJC-ADS Document 1 Filed 02/19/21 Page 34 of 37 Page ID #:34



   1         140. As a proximate result of Defendants’ violation of 18 U.S.C. § 2252A,
   2   Plaintiff and the Class have suffered serious harm including, without limitation,
   3   physical, psychological, financial, and reputational harm.
   4         141. Defendants’ conduct was malicious, oppressive, or in reckless disregard
   5   of Plaintiff’s rights and the Class’ rights and Plaintiff and the Class are entitled to
   6   injunctive relief, compensatory and punitive damages, and the costs of maintaining
   7   this action. 18 U.S.C. § 2252A(f).
   8         142. Defendants’ liability for knowingly violating 18 U.S.C. § 2252A is not
   9   limited by 47 U.S.C. § 230 because nothing in Section 230 “shall be construed to
  10   impair the enforcement of [] chapter [ ] 110 (relating to sexual exploitation of
  11   children) [ ] or any other Federal criminal statute.” 47 U.S.C. § 230(e)(1).
  12                            FOURTH CLAIM FOR RELIEF
  13               DISTRIBUTION OF PRIVATE SEXUALLY EXPLICIT
  14                       MATERIALS, CAL. CIV. CODE § 1708.85
  15                                 (Against All Defendants)
  16                           (On behalf of California Subclass)
  17         143. Plaintiff incorporates each and every allegation set forth above as if fully
  18   set forth herein.
  19         144. Defendants intentionally distributed child pornography.
  20         145. Plaintiff and the Class did not consent to the online distribution of the
  21   videos and images depicting them.
  22         146. Defendants knew Plaintiff and the Class had a reasonable expectation
  23   that the videos depicting them would remain private.
  24         147. The videos depicted on Pornhub exposed intimate body parts of Plaintiff
  25   and the Class.
  26         148. Plaintiff and the Class were harmed by Defendants’ knowing and
  27   intentional distribution of child pornography and Defendants’ conduct was a
  28   substantial factor in causing harm to Plaintiff and the Class.
                                                  34
Case 8:21-cv-00338-CJC-ADS Document 1 Filed 02/19/21 Page 35 of 37 Page ID #:35



   1                                FIFTH CLAIM FOR RELIEF
   2   VIOLATION OF CALIFORNIA’S UNFAIR COMPETITION LAW (“UCL”)
   3                                Cal. Bus. & Prof. Code § 17200
   4                                   (Against All Defendants)
   5                              (On behalf of California Subclass)
   6            149. Plaintiff incorporates each and every allegation set forth above as if fully
   7   set forth herein.
   8            150. Defendants have violated the UCL by engaging in unlawful, unfair, and
   9   fraudulent business acts and practices.
  10            151. Defendants knowingly had inadequate age verification systems in place
  11   that enabled users to upload child pornography to Defendants’ websites.
  12            152. Defendants’ conduct constitutes an unlawful, unfair, and fraudulent
  13   business act and practice.
  14                                SIXTH CLAIM FOR RELIEF
  15                                  UNJUST ENRICHMENT
  16                                   (Against All Defendants)
  17            153. Plaintiff incorporates each and every allegation set forth above as if fully
  18   set forth herein.
  19            154. Defendants profited off of videos and images depicting Plaintiff and the
  20   Class on Defendants’ websites.
  21            155. By permitting users to upload videos and images of Plaintiff and the
  22   Class and profiting from those videos and images, Defendants have become unjustly
  23   enriched at the expense of Plaintiff and the Class in an amount to be determined at
  24   trial.
  25                                   PRAYER FOR RELIEF
  26            WHEREFORE, plaintiff prays for judgment, as follows:
  27            A.    Determine that this action is a proper class action under Rule 23 of the
  28   Federal Rules of Civil Procedure and appointing plaintiff’s counsel as Class counsel;
                                                    35
Case 8:21-cv-00338-CJC-ADS Document 1 Filed 02/19/21 Page 36 of 37 Page ID #:36



   1         B.     Award injunctive relief sufficient to bring Defendants’ policies in
   2   compliance with the TVPRA.
   3         C.     Award compensatory and punitive damages in favor of Plaintiff and the
   4   Class against all Defendants, jointly and severally, for all damages sustained as a
   5   result of defendants’ violations of the law, in an amount to be proven at trial,
   6   including prejudgment interest thereon.
   7         D.     Award Plaintiff and the Class reasonable attorneys’ fees, costs and
   8   expenses incurred in this action, including expert fees.
   9         E.     Award such other and further relief as the Court may deem just and
  10   proper.
  11   Dated: February 19, 2021
                                             DAVIDA BROOK
  12                                         KRYSTA KAUBLE PACHMAN
                                             ARUN SUBRAMANIAN
  13                                         SUSMAN GODFREY L.L.P.
  14                                         STEVE COHEN
                                             (Pro Hac Vice forthcoming)
  15                                         scohen@pollockcohen.com
                                             POLLOCK COHEN LLP
  16                                         60 Broad Street, 24th Fl.
                                             New York, NY 10004
  17                                         Phone: (212) 337-5361
  18

  19                                         By /s/ Krysta Kauble Pachman
                                                     Krysta Kauble Pachman
  20                                          Attorneys for Plaintiff
  21

  22

  23

  24

  25

  26

  27

  28
                                                  36
Case 8:21-cv-00338-CJC-ADS Document 1 Filed 02/19/21 Page 37 of 37 Page ID #:37



   1                                     JURY DEMAND
   2         Pursuant to Fed. R. Civ. P. 38(b), plaintiff demands trial by jury of all of the
   3   claims asserted in this complaint so triable.
   4   Dated: February 19, 2021              DAVIDA BROOK
                                             KRYSTA KAUBLE PACHMAN
   5                                         ARUN SUBRAMANIAN
                                             SUSMAN GODFREY L.L.P.
   6
                                             STEVE COHEN
   7
                                             POLLOCK COHEN LLP
   8

   9                                         By /s/ Krysta Kauble Pachman
                                                     Krysta Kauble Pachman
  10                                          Attorneys for Plaintiff
  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28
                                                  37
